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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------x
 In re                                                             :
                                                                   :       Chapter 7
 FYRE FESTIVAL LLC,                                                :
                                                                   :      Case No. 17-11883 (MG)
                                    Debtor.                        :
 ------------------------------------------------------------------x
 GREGORY M. MESSER, as Chapter 7 Trustee of the :
 Estate of Fyre Festival LLC,                                      :
                                                                   :
                                            Plaintiff,             :
                                                                   :       Adv. Pro. No. 19-01353 (MG)
                -against-                                          :
                                                                   :
 YARON LAVI,                                                       :
                                                                   :
                                            Defendant.             :
 ------------------------------------------------------------------x

                                            AFFIDAVIT OF SERVICE

STATE OF NEW YORK                  )
                                   ) ss.:
COUNTY OF NEW YORK                 )

        Rayella Bergman, being duly sworn, deposes and says:

        1.       I am over the age of 18, am not a party to this action, and am employed by

Klestadt Winters Jureller Southard & Stevens, LLP located at 200 West 41st Street, 17th Floor, New York,

New York, 10036.

        2.       On the 3rd day of September, 2019, I served copies of:

    •   Complaint Seeking the Avoidance and Recovery of Fraudulent and Preferential Transfers [Docket
        No. 1]; and

    •   Summons and Notice of Pretrial Conference in an Adversary Proceeding [Docket No. 2]

by first class mail, by depositing true copies thereof enclosed in a post-paid wrapper, in an official depository

under the exclusive care and custody of the United States Postal Service within New York State upon these

parties listed on Schedule A.
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                                                         /s/ Rayella Bergman
                                                         Rayella Bergman
Sworn to and subscribed before me this
4th day of September, 2019

/s/ Stephanie L. Nocella
Notary Public, State of New York
No. 01NO6363034
Qualified in Kings County
Commission Expires August 14, 2021
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                                         Schedule A

Yaron Lavi
61 Joyce Road
Tenafly, NJ 07670
